                                                       ORDER: MOTION GRANTED.




                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE MIDDLE DISTRICT OF TENNESSEE

                                 NASHVILLE DIVISION


BRIAN P. MANOOKIAN,
                                               Civil Action No. 3:19-cv-00350
                           Plaintiff,
                                               Judge William L. Campbell, Jr.
                 vs.
                                               Magistrate Judge Alistair Newbern
FLOYD FLIPPIN et al.,

                           Defendants.


             MOTION REQUESTING LEAVE TO FILE SURREPLY
             IN OPPOSITION TO MOTION OF ALL DEFENDANTS
                        TO DISMISS COMPLAINT


      Plaintiff Brian Manookian moves the Court to grant him leave to file a

limited surreply to defendants’ reply (Dkt. No. 31) regarding their motion to dismiss

(Dkt. No. 23).

      The surreply requests that the Court not consider certain impermissible

factual assertions in defendants’ reply because those assertions lie outside the four
corners of the complaint. Local 18 Int’l Union of Operating Eng’rs v. Ohio

Contractors Ass’n, 644 F. App’x 388, 392–93 (6th Cir. 2016) (citing Tackett v. M & G

Polymers, USA, LLC, 561 F.3d 478, 487 (6th Cir. 2009)) (“[F]acts outside the

complaint’s pleadings are not properly considered in a 12(b)(6) ruling.”).



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